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July 30, 2024

Honorable Judge Ann Aiken
Wayne L. Morse U.S. Courthouse
405 E 8th Avenue
Eugene, OR 97401

Dear Judge Aiken:

I am an Oregon Psychologist and I have been asked by Arnaud Paris to help in reconciling with
his two daughters. Mr. Paris contacted me after conducting an Internet search, while looking for
an Oregon Psychologist to meet requirements for Family Court in Oregon.

Mr. Paris explained to me that the mother of the children removed the children from their
home in France, against his wishes, and brought them to southern Oregon. In spite of the fact
that Mr. Paris was granted custody of the children by the French court, Mr. Paris has not been
able to see his children in some months. He desires to resolve this problem for the welfare of his
daughters.

While I have not met the children, nor their mother, Mr. Paris has provided documents from
both the French and Oregon courts, letters, and recordings to review. It appears from these
documents that the children may need the protection of the Federal Court. Based upon my
limited review, I am offering these recommendations:

   1. The requirement by the Oregon Court that Mr. Paris appear at hearings in person is
      onerous considering that he lives in France. He is willing to appear on video and this
      should be allowed. I understand that recently Judge Bloom has finally allowed a remote
      video appearance, but the delays in handling this family situation are damaging to the
      children.
   2. An evaluation of the children to assess their mental health and general well-being
      should be conducted quickly. This evaluation could be conducted locally in the office of a
      social service or mental health agency.
   3. Schedule an interview with the mother of the children to evaluate her concerns.
   4. Based upon this initial evaluation, further testing and psychological evaluation may be
      warranted.

As you know it is a stressful situation for children to be removed from their home, especially
when the parents are at odds about this transition. Furthermore, there is significant risk of
parental alienation when the children are not able to regularly spend time with their father who
lives in Paris (and where the children have lived most of their lives). Intercontinental custody
arrangements are fraught with problems, so it is imperative to evaluate this situation sooner
than later.


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If you would like to know more about my background, feel free to go to my website,
www.kmarshack.com. I am willing to help evaluate this situation and could travel to southern
Oregon if need be.

Sincerely,




Kathy J. Marshack, Ph.D.
Licensed Psychologist, Oregon and Washington

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